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           IN THE UNITED STATES DISTRICT COURT
        FOR THE EASTERN DISTRICT OF PENNSYLVANIA



HOWARD CHAPMAN, et al.

           Plaintiffs,

                                        Case No. 5:22-cv-1588-JMG

                   v.                   Hon. John M. Gallagher

 BRIAN CHUDZIK, et al.,

          Defendants.




     PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF
          THIS COURT RETAINING JURISDICTION
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         Pursuant to the Court’s January 30, 2024 Order (ECF No. 65), Plaintiffs respectfully submit

this memorandum of law addressing the Court’s exercise of jurisdiction over this litigation.

                                        INTRODUCTION

         Plaintiffs are individuals incarcerated in Lancaster County Prison (“LCP”) for one reason:

they cannot afford to pay their cash bail. On April 25, 2022, Plaintiffs filed a verified class action

Complaint seeking declaratory and injunctive relief (but not money damages) against certain

Lancaster County Magisterial District Judges (“MDJs”), Lancaster County, and LCP Warden

Cheryl Steberger (collectively, the “Defendants”). ECF No. 1. Plaintiffs’ Complaint alleges that

the MDJs imposed unaffordable cash bail on them and a putative class of other pre-trial detainees

following hurried, cursory preliminary arraignments where the MDJs failed to conduct a

meaningful, individualized inquiry that considered their financial condition. Plaintiffs assert

claims for violations of their procedural Due Process and Equal Protection rights.

         In July 2022, Defendants moved to dismiss Plaintiffs’ Complaint. See ECF Nos. 25, 26.

After briefing and oral argument, the Court denied Defendants’ motion to dismiss Plaintiffs’ Due

Process claims and granted Defendants’ motion to dismiss Plaintiffs’ Equal Protection claim with

leave to amend. See ECF No. 48. Plaintiffs then filed an Amended Complaint, see ECF No. 52,

and the MDJs again moved to dismiss Plaintiffs’ Equal Protection claim.1 See ECF No. 55. On

January 22, 2024, the Court denied the MDJs’ motion. See ECF No. 64.




1
    Defendants Lancaster County and Warden Steberger filed an Answer. See ECF No. 57.
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        Shortly thereafter, the Court ordered the parties to address three abstention-related

questions:

             1. Whether Younger abstention should apply to this case in light of Stewart v.
                Abraham and Daves v. Dallas County;
             2. Whether Pullman abstention should apply to this case, i.e., whether
                Plaintiff’s allegations present a facial or as-applied challenge and whether
                Pennsylvania state courts are better situated to answer that question based
                on their own interpretation of their constitution, statutes, and codes; and
             3. Whether this case is properly brought under the Ex parte Young exception
                to the Eleventh Amendment.

ECF No. 65 at 1–2.

        Because no exceptional circumstances warranting abstention exist, Plaintiffs respectfully

request that the Court retain jurisdiction over Plaintiffs’ claims and permit the litigation to proceed.

                                            ARGUMENT

        Where, as here, a federal court’s subject-matter jurisdiction is properly implicated, the

Court has a “virtually unflagging obligation” to retain jurisdiction over the action. Colorado River

Water Conservation Dist. v. United States, 424 U.S. 800, 817 (1976). Abstention doctrines, like

those before the Court, have been judicially developed in response to tensions between federal

courts’ mandatory roles in adjudicating disputes before them and federalism concerns. See Grode

v. Mut. Fire, Marine & Inland Ins. Co., 8 F.3d 953, 957 (3d Cir. 1993). But “[a]bstention from

the exercise of federal jurisdiction is the exception, not the rule.” Colorado River, 424 U.S. at 813

(emphasis added).

        Here, Plaintiffs properly invoke the Court’s subject-matter jurisdiction over core claims

that Defendants violated Plaintiffs’ rights under the United States Constitution, and these claims

do not give rise to any exceptional circumstances warranting abstention. See ECF Nos. 1, 52.




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I.      Younger Abstention Does Not Apply

        The Court should decline to apply Younger abstention for four reasons. First, Defendants

waived any Younger argument. Second, Plaintiffs’ claims do not implicate Younger abstention

because they are not aimed at the underlying criminal prosecutions themselves. Third, Plaintiffs

lack an adequate opportunity in the state criminal proceedings to raise their federal constitutional

challenges. Fourth, abstention risks irreparable harm to the rights of pre-trial detainees.

        A.      Defendants Waived Any Argument For Younger Abstention

        As an initial matter, Defendants have waived any argument that Younger abstention

applies. The Supreme Court has explained that, “[i]f the State voluntarily chooses to submit to a

federal forum, principles of comity do not demand that the federal court force the case back into

the State’s own system.” Ohio Bureau of Emp. Servs. v. Hodory, 431 U.S. 471, 480 (1977). This

case has been pending for almost two years. During that time, Defendants have filed multiple

motions to dismiss and an Answer.2 Yet, Defendants never asked this Court to abstain under

Younger.     See ECF Nos. 25, 26, 55.      Rather, Defendants voluntarily chose to submit the

constitutional issues in this case to this Court. Accordingly, Younger abstention does not apply.

See, e.g., Cradle of Liberty Council, Inc. v. City of Philadelphia, No. 08-2429, 2010 WL 68874,

at *2–4 (E.D. Pa. Jan. 6, 2010) (holding that waiver of Younger abstention argument need not be

explicit, and that City of Philadelphia waived Younger abstention argument by failing to raise it

earlier in the case).




2
  The MDJ Defendants’ deadline to answer the Amended Complaint was February 5, 2024, but
they still have not filed an Answer.
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       B.      Younger Is Inapplicable Because Plaintiffs’ Claims Are Not Directed At
               Their Underlying Criminal Prosecutions

       When state criminal defendants, like Plaintiffs, challenge pretrial procedures “not directed

at the state prosecutions as such,” the Supreme Court has concluded abstention is unwarranted.

Gerstein v. Pugh, 420 U.S. 103, 108 n.9 (1975) (emphasis added). The plaintiffs in Gerstein

sought an injunction directed “only at the legality of pretrial detention without a judicial hearing,

an issue that could not be raised in defense of the criminal prosecution.” Id. The Supreme Court

held that Younger abstention was inapplicable because an “order to hold preliminary hearings

could not prejudice the conduct of the trial on the merits.” Id.

       The Third Circuit applied Gerstein in Stewart v. Abraham and explained that Younger

abstention was inapplicable because the plaintiffs sought equitable relief “not aimed at state

prosecutions, but at the legality of the re-arrest policy and the pretrial detention of a class of

criminal defendants,” which “could not have been raised in defense of Stewart’s criminal

prosecution, and the injunction sought would not bar his prosecution.” 275 F.3d 220, 225 (3d Cir.

2001); see also Walker v. City of Calhoun, 901 F.3d 1245, 1254 (11th Cir. 2018) (“Younger does

not readily apply here because Walker is not asking to enjoin any prosecution. Rather, he merely

seeks prompt bail determinations for himself and his fellow class members.”).

       Like the plaintiffs in Gerstein, Stewart, and Walker, Plaintiffs’ constitutional challenge

here is directed not at their criminal prosecutions, but at the legality of their pretrial detention.

Plaintiffs’ requested relief—a declaration that the MDJs’ preliminary arraignment bail practices

are unconstitutional and an order prohibiting Lancaster County and Warden Steberger from

executing resulting unconstitutional detention orders—would not prevent the state’s prosecution

of Plaintiffs. Because Plaintiffs do not challenge state criminal prosecutions, only the MDJs’

unconstitutional cash-bail practices, Younger abstention is unwarranted.


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       C.      Younger Abstention Also Does Not Apply Because Plaintiffs’ State Criminal
               Proceedings Do Not Afford an Adequate Opportunity to Raise Federal
               Claims

       Younger abstention also does not apply because Plaintiffs lack an adequate opportunity in

the state criminal proceedings to raise the federal constitutional challenges they raise here.

Younger abstention is appropriate only when, among other things, “the state proceedings afford an

adequate opportunity to raise federal claims.” Schall v. Joyce, 885 F.2d 101, 106 (3d Cir. 1989)

(citing Middlesex Cnty. Ethics Comm. v. Garden State Bar Ass’n, 457 U.S. 423, 432 (1982)). A

federal court’s application of Younger abstention “naturally presupposes the opportunity to raise

and have timely decided by a competent state tribunal the federal issues involved” in the plaintiffs’

claims. Gibson v. Berryhill, 411 U.S. 564, 577 (1973) (emphasis added). Abstention is therefore

inappropriate when state-law proceedings bar effective adjudication of a plaintiff’s claims arising

under the United States Constitution. See Moore v. Sims, 442 U.S. 415, 425 (1979) (“The pertinent

issue is whether appellees’ constitutional claims could have been raised in the pending state

proceedings.”).

       Here, Plaintiffs and class members do not have an adequate opportunity to raise their

federal constitutional claims in their state criminal proceedings. Instead of ready access to a bail-

review process, criminal defendants’ first opportunity for a review of the MDJs’ initial bail

determination occurs at a preliminary hearing scheduled at least two weeks after the preliminary

arraignment. See ECF No. 52 at 11, ¶¶ 59–61; see also PA. R. CRIM. P. 540(G)(1). This illusory

opportunity to contest confinement is exacerbated because preliminary hearings are frequently

continued. See ECF No. 52 at 11, ¶ 60. Although a criminal defendant’s lawyer can request bail

modification at any time, indigent defendants, like Plaintiffs, who do not have lawyers lack this

benefit that their well-heeled comparators enjoy.        Further exacerbating this vicious cycle,

Lancaster County typically does not appoint counsel to indigent defendants until the preliminary
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hearing, rendering any pre-preliminary hearing bail-modification petition functionally inaccessible

to indigent defendants. See id. at 11, ¶ 59 n.1. And the MDJs’ failure to keep any record of the

preliminary arraignment proceedings further impedes industrious indigent defendants from

contesting the adequacy of the MDJs’ flawed bail determinations. Id. at 20, ¶¶ 124–28. Even in

the rare circumstances where an indigent defendant – or any defendant – can challenge their initial

bail determination, that review does not explicitly allow a defendant to challenge the use of the

same cursory and constitutionally deficient procedures the MDJs currently use in the preliminary

arraignments. See id. at 11, ¶ 59. Instead, it merely offers a defendant the ability to present

evidence in support of bail modification that the MDJs, by their deficient practices, did not give

the defendant a fair opportunity to adduce at their preliminary arraignment. For all these reasons,

Plaintiffs lack an adequate opportunity to vindicate their constitutional rights.

       D.      The Fifth Circuit’s Decision In Daves Is Inapplicable

       The Fifth Circuit’s decision in Daves v. Dallas County, 64 F.4th 616 (5th Cir. 2023), cert.

denied 2024 WL 71911 (Mem) (U.S. Jan. 8, 2024), does not support applying Younger abstention

to this case. In Daves, the Fifth Circuit held that Younger required the court to abstain from

affirmatively revising Dallas County’s offense-based bail schedule, id. at 620–21, which prevented

consideration of an arrestees’ ability to pay. Id.3 Plaintiffs proposed various “fundamental

alterations” to Dallas County’s bail procedures, including ongoing federal oversight of Dallas

County’s criminal justice system. Id. at 621–22. However, pending appeal, the Texas Legislature

made “substantial changes” to Texas bail procedures, so the court ultimately found that the case

was moot. Id. at 635.



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  Because Dallas County judges used a set bail schedule which, by its own terms, tied a particular
offense to a particular amount of cash bail, ability to pay was not considered as part of the bail
inquiry. See Daves, 64 F.4th at 620–21.
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       Daves does not support abstention in this case for three reasons. First, here, unlike in

Daves, Plaintiffs do not propose “fundamental alterations in the pretrial decisional process.” Id.

at 621. Pennsylvania’s pretrial policies and processes—including the requirement to consider an

arrestee’s financial condition when setting bail—are already detailed in the Pennsylvania

Constitution and the Pennsylvania Rules of Criminal Procedure. Plaintiffs do not challenge those

policies and processes. To the contrary, all Plaintiffs seek is injunctive relief requiring the MDJs

to apply the law as written and in a manner that comports with the United States Constitution.

Such relief would not interfere with state criminal prosecutions.

       For the same reason, Plaintiffs here do not seek the substantial and open-ended federal

oversight that concerned the Fifth Circuit in Daves. In Daves, the plaintiffs proposed the

appointment of a federal monitor to oversee the state-court system, who would “receive periodic

reports and be empowered to respond to any individual defendant or his counsel or family member

who believed at any time that the federally installed bail procedures were not being followed.” Id.

at 622. The Fifth Circuit concluded that “[s]uch extensive federal oversight . . . indirectly

accomplish[ing] the kind of interference that Younger v. Harris . . . and related cases sought to

prevent.’” Id. at 631 (quoting O’Shea v. Littleton, 414 U.S. 488, 500 (1974)). Plaintiffs here seek

no such extensive federal oversight.

       Finally, Stewart, not Daves, is binding on this Court. Significantly, when addressing

abstention in Daves, the Fifth Circuit expressly disagreed with “some or all of the reasoning in

other appellate court cases”—including Stewart. Id. at 623. Though Daves is inapposite to the

facts of this case and the remedies sought, to the extent there is disagreement or inconsistency

between Stewart and Daves, this Court must apply Stewart and disregard Daves.




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         E.     If Younger Abstention Is Warranted The Court Should Still Decline To
                Abstain

         If the Court nevertheless concludes that Younger abstention may apply, the Court should

still decline to abstain so it can prevent the ongoing harm resulting from the Defendants’ ongoing

constitutional violations. The Supreme Court in Younger was clear that abstention is not proper if

the case presents “extraordinary circumstances, where the danger of irreparable loss is both great

and immediate.” Younger v. Harris, 401 U.S. 37, 45 (1971). This case presents both extraordinary

circumstances and a risk of ongoing irreparable harm.

         “It is well established that the deprivation of constitutional rights ‘unquestionably

constitutes irreparable injury.’” Arevalo v. Hennessy, 882 F.3d 763, 766–67 (9th Cir. 2018)

(quoting Hernandez v. Sessions, 872 F.3d 976, 994 (9th Cir. 2017) (declining to abstain because

of irreparable harm and extraordinary circumstances)). As Judge Southwick noted in Daves,

“unconstitutional pretrial detention leads to injury that is different in kind as well as degree to the

cost, anxiety, and inconvenience of being prosecuted.” Daves, 64 F.4th at 654 (Southwick, J.,

concurring). These harms accrue quickly, with one study finding a 14% drop in employment and

an 11% decrease in housing stability for defendants who spent three or more days in pretrial

detention. Alexander M. Holsinger, Analyzing Bond Supervision Survey Data: The Effects of

Pretrial Detention on Self-Reported Outcomes, CRIME & JUST. INST. 7–8 (June 2016),

https://bit.ly/4bCA4Ue. The rate and severity of the harms associated with pretrial detention are

sufficient to demonstrate an “irreparable loss” that is “both great and immediate” as required for

this Court to find an exception to otherwise applicable Younger abstention. See Younger, 401 U.S.

at 45.

                                          *       *       *




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        For all these reasons, the Court should decline to apply Younger abstention and should

retain jurisdiction over this litigation.

II.     Pullman Abstention Does Not Apply Because Plaintiffs Do Not Challenge Any
        Pennsylvania Law

        This Court should also decline to abstain under the Pullman abstention doctrine. See

Railroad Comm’n of Tex. v. Pullman Co., 312 U.S. 496 (1941). Pullman abstention “involves an

inquiry focused on the possibility that the state courts may interpret a challenged state statute so

as to eliminate or at least to alter materially, the constitutional question presented.” Hodory, 431

U.S. at 477. A federal court may abstain under Pullman only if three “exceptional circumstances”

exist: (1) “there must be ‘uncertain issues of state law underlying the federal constitutional

claims,’” (2) “the state law issues must be amenable to a state court interpretation which could

‘obviate the need to adjudicate or substantially narrow the scope of the federal constitutional

claim,’” and (3) “it must be that ‘an erroneous construction of state law by the federal court would

disrupt important state policies.’” Planned Parenthood of Cent. N.J. v. Farmer, 220 F.3d 127,

149–50 (3d Cir. 2000) (quoting Presbytery of N.J. of the Orthodox Presbyterian Church v.

Whitman, 99 F.3d 101, 106 (3d Cir. 1996), cert. denied, 520 U.S. 1155 (1997)).4

        Pullman abstention does not apply because Plaintiffs are not challenging the

constitutionality of any Pennsylvania statute or rule (either facially or as-applied), and there are no

“uncertain” issues of state law underlying Plaintiffs’ claims under the United States Constitution.

Plaintiffs do not allege that the MDJs’ application of the Pennsylvania Rules of Criminal Procedure


4
  Even where all three exceptional circumstances exist, Pullman abstention is discretionary based
on factors including “the availability of an adequate state remedy, the length of time the litigation
has been pending, and the impact of delay on the litigants.” Planned Parenthood, 220 F.3d at 150
(quoting Artway v. Att’y Gen. of N.J., 81 F.3d 1235, 1270 (3d Cir. 1996)). Here, Plaintiffs’ claims
have been pending for nearly two years, Defendants have filed three motions to dismiss, and
Plaintiffs face significant harmful delay should the Court, in its discretion, decide to abstain based
on Pullman.
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results in unconstitutional bail orders. Rather, Plaintiffs challenge the MDJs’ practices that do not

comply with the Pennsylvania Rules of Criminal Procedure. Uncertainty as to whether the MDJs

comply with Pennsylvania law is not a basis for Pullman abstention. Schall, 885 F.2d at 113

(explaining that uncertainty as to whether state actors adhere to state law, “in the absence of the

identification of any unsettled question of law . . . concerns factual rather than legal questions”);

id. at 113 n.3 (“[U]nsettled factual issues—such as an office’s policies and practices—do not

provide a basis for Pullman abstention.”) (emphasis added)). And the Third Circuit has been clear

that “federal courts have the power to enjoin unconstitutional state action even if such action is

illegal under state law and hence remediable in state courts.” Id. at 112.

       Further, there is no ambiguity – and no dispute in this litigation – regarding what

information the Pennsylvania Rules of Criminal Procedure require the MDJs to consider in setting

bail. See PA. R. CRIM. P. 523(A), 528(A). Thus, there are no “uncertain” issues of state law to

resolve, and the exceptional circumstances required for Pullman abstention are absent. See Chez

Sez III Corp. v. Tp. of Union, 945 F.2d 628, 630–31 (3d Cir. 1991) (explaining that inquiry into

the presence of “uncertain” issues of state law focuses on whether the language of a law is

ambiguous, and whether any ambiguity has been authoritatively construed by state courts).

       Because there is no issue regarding interpretation of Pennsylvania law that might

“eliminate or at least . . . alter materially, the constitutional question presented,” Hodory, 431 U.S.

at 477, and no exceptional circumstances required for abstention exist, Pullman abstention is

unwarranted, and this Court should retain jurisdiction of this litigation.




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III.   As This Court Has Already Concluded, This Case Is Properly Brought Under Ex
       parte Young

       This Court has already rejected the MDJs’ argument that the Eleventh Amendment bars

Plaintiffs’ claims. See ECF No. 48 at 27–28. Because no intervening law has changed the Court’s

well-reasoned analysis, Plaintiffs’ claims should proceed.

       In the Court’s March 2023 memorandum opinion denying the MDJs’ motion to dismiss,

the Court properly noted that “a person seeking purely prospective relief against state officials for

ongoing violations of federal law may sue under the ‘legal fiction’ of Ex parte Young, 209 U.S.

123, 159–60 (1908), despite the text of the Eleventh Amendment.” Id. at 27 (quoting Koslow v.

Pennsylvania, 302 F.3d 161, 168 (3d Cir. 2002)). In evaluating the parties’ previous arguments

on Eleventh Amendment immunity, the Court reasoned that:

       Plaintiffs have brought claims against the MDJ’s in their official capacities to
       remedy what they allege are ongoing violations of federal law. Specifically, they
       allege the MDJ’s impose unconstitutional bail orders in violation of Plaintiffs’
       rights to due process and Equal Protection under the 14th Amendment, and their
       right to counsel under the Sixth and Fourteenth Amendments. The ongoing
       violation alleged is their continued detention. See McBride v. Cahoone, 820 F.
       Supp. 2d 623, 635 (E.D. Pa. 2011). Additionally, the relief Plaintiffs seek with
       regard to the MDJ’s is prospective. They are seeking a declaratory judgment that
       their continued detention violates their Sixth and Fourteenth Amendment rights.
       Therefore, Eleventh Amendment immunity does not bar Plaintiffs’ claims
       against the MDJ’s.

Id. at 28 (emphasis added).

       The Court correctly decided the Eleventh Amendment question in its March 2023

memorandum opinion.

                                         CONCLUSION

       For all the reasons set forth above, the Court should retain jurisdiction over Plaintiffs’

claims and the litigation should proceed in this Court.




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                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on February 28, 2024, the foregoing was served upon

all counsel of record via the CM/ECF system.


                                                          /s/ Christopher J. Merken
                                                          Christopher J. Merken
